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Danny L. Hitt, Jr., OSB 833818
Email: dhitt@hittandhiller.com
HITT HILLER MONFILS WILLIAMS LLP
411 SW Second Avenue, Suite 400
Portland, OR 97204
Telephone: (503) 228-5973
Facsimile: (503) 228-4250
       Attorneys for Defendant



                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION



OREGON AMUSEMENTS, LLC
                                                                          Case No. 3:14-cv-00170
                                  Plaintiff,

     v.                                                               NOTICE OF REMOVAL
                                                                 Multnomah County Circuit Court
Liberty Mutual Insurance Company, a                                       Case No. 1307-09539
Massachusetts corporation.

                                  Defendant.



      TO:     The Judges of the United States District Court for the District of Oregon;
              Clerk of Multnomah County Circuit Court of the State of Oregon; and
              Ken Ammann, attorney for Plaintiff.

      Defendants give notice of removal as follows:

      1.      On or about July 1, 2013, an action was commenced in Circuit Court of the State

of Oregon for the County of Multnomah entitled: Oregon Amusements, LLC v Liberty Mutual

Insurance Company, and bearing Case No. 1307-09539.




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          2.      This action is a civil action over which this court has original jurisdiction under

28 USC §§ 1332, and is one which may be removed to this court by defendant pursuant to the

provisions of 28 USC § 1441(b) and 1441, in that it is a civil action wherein the matter in

controversy exceeds $75,000, exclusive of interest and costs, and is between citizens of different

states.

          3.      Plaintiff was, at the time of filing this action, and still is, an Oregon limited

liability corporation with all of its members residents and citizens of the state of Oregon. At the

time of filing of this action, and now, defendant was and is not a corporation organized and

existing under the laws of the state of Oregon. And at the time of filing of this action, and now,

defendant did not have nor does it have now its principal place of business in the state of Oregon.

          4.      Less than one year has passed since this action was commenced.

          5.      A copy of the Oregon state court file for the county of Multnomah case no. 1307-

09539 is attached hereto as Exhibit A.

          6.      The original complaint filed in state court alleges damage to personal property for

which $69,163.00 is pled. It also alleges damage to plaintiff’s business and profits for which no

amount is specified. Plaintiff’s counsel first informed defendant on January 29, 2014 that total

damages in this case should be considered to exceed $75,000 and he agreed the matter is

removable to Federal Court.



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       THEREFORE, Defendants give notice that the above action now pending in the Circuit

Court of the State of Oregon for the County of Multnomah as Case No. 1307-09539 has been

removed therefrom to this court.



       DATED: January 30, 2014.

                                         HITT HILLER MONFILS WILLIAMS LLP

                                         By: /s/ Danny L. Hitt Jr.
                                            Danny L. Hitt Jr., OSB #833818
                                            Of Attorney for Defendant Liberty Mutual
                                            Trial Attorney: Danny L. Hitt Jr.




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                                CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing NOTICE OF REMOVAL on:

Ken L. Ammann
Jones Ammann LLC
880 Liberty Street NE
Salem, Oregon 97301


by mailing a full, true and correct copy thereof in a sealed first-class postage-prepaid envelope,

addressed to the attorney shown above, the last-known office of the attorney, and deposited with

the United States Postal Service at Portland, Oregon, on the date shown below.

       DATED: January __, 2014.

                                             HITT HILLER MONFILS WILLIAMS LLP

                                             By: /s/ Danny L. Hitt Jr.
                                                Danny L. Hitt Jr., OSB #833818
                                                Of Attorney for Defendant Liberty Mutual
                                                Trial Attorney: Danny L. Hitt Jr.




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